Case 1:06-cv-00605-DAE-BMK Document 82 Filed 09/04/07 Page 1 of 7          PageID.782




                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

 HAWAI’I DISABILITY RIGHTS,         )         CV. NO. 06-00605 DAE-BMK
                                    )
              Plaintiff,            )
                                    )
        vs.                         )
                                    )
 SUSANNA F. CHEUNG, in her          )
 capacity as President and Chief    )
 Executive Officer of Opportunities )
 for the Retarded, Inc.; and        )
 OPPORTUNITIES FOR THE              )
 RETARDED, INC., a Hawai’i          )
 corporation,                       )
                                    )
              Defendants.           )
 _____________________________ )


   ORDER DENYING DEFENDANTS’ MOTION FOR RECONSIDERATION

             Pursuant to Local Rule 7.2(d), the Court finds this matter suitable for

 disposition without a hearing. After reviewing Defendants’ Susanna F. Cheung

 and Opportunities for the Retarded, Inc.’s Motion for Reconsideration and the

 supporting memoranda, the Court DENIES Defendants’ Motion.

                                 BACKGROUND

             On July 13, 2007, Magistrate Judge Leslie E. Kobayashi (“Magistrate

 Judge”) issued an Order Granting in Part and Denying in Park Plaintiff’s Motion to

 Compel, ordering Defendants to respond to Plaintiff’s discovery requests no later
Case 1:06-cv-00605-DAE-BMK Document 82 Filed 09/04/07 Page 2 of 7                PageID.783




 than August 17, 2007. On July 18, 2007, Defendants filed a motion to dismiss the

 entire complaint for lack of subject matter jurisdiction, which the Court is

 scheduled to hear on September 24, 2007. On August 7, 2007, the Magistrate

 Judge issued a protective order to control the use, release, and dissemination of the

 information that Defendants are compelled to turn over to Plaintiff. That

 information includes “the names and addresses of all legal guardians, conservators,

 and legal representatives of all persons with disabilities currently residing at

 Defendants’ facilities and all persons with disabilities to whom Defendants provide

 day program services,” per Plaintiff’s request in interrogatory #2. Pursuant to that

 protective order, Plaintiff is required to maintain the confidentiality of Defendants’

 answers to the propounded interrogatories and to prevent the release of the

 information to any persons or entities (1) not involved in the litigation or (2) not

 otherwise entitled to learn of it in the course of Plaintiff fulfilling its obligations

 under law.

              On August 16, 2007, the Court denied Defendants’ Motion for Order

 Staying Enforcement of Magistrate’s Order Compelling Discovery (“Order

 Denying Stay”) on the ground that the “Protective Order essentially negated the

 sole issue [], that is, that Defendants should not have to reveal the information

 requested for confidentiality purposes.” Consequently, Defendants were unable to


                                             2
Case 1:06-cv-00605-DAE-BMK Document 82 Filed 09/04/07 Page 3 of 7            PageID.784




 prove irreparable harm that would result upon the release of the information

 requested. On August 27, 2007, Defendants filed a Motion for Reconsideration,

 seeking reconsideration of the Court’s Order Denying Stay on the ground that the

 Court did not have jurisdiction to make that decision.

                              STANDARD OF REVIEW

              A “motion for reconsideration must accomplish two goals. First, a

 motion for reconsideration must demonstrate reasons why the court should

 reconsider its prior decision. Second, a motion for reconsideration must set forth

 facts or law of a strongly convincing nature to induce the court to reverse its prior

 decision.” Donaldson v. Liberty Mut. Ins. Co., 947 F. Supp. 429, 430 (D. Haw.

 1996).

              Defendants seek relief pursuant to Local Rule 60.1(c) and Rule

 60(b)(6) of the Federal Rules of Civil Procedure (“Fed. R. Civ. P.”). Under Local

 Rule 60.1(c), motions for reconsideration of interlocutory orders may be brought

 based on manifest errors of law or fact when there is a need to correct the errors to

 prevent manifest injustice. See Reliance Ins. Co. v. Doctors Co., 299 F. Supp. 2d

 1131, 1153 (D. Haw. 2004) (noting that reconsideration motions may be granted

 when there is a need to correct a manifest error to prevent manifest injustice); Na

 Mamo O ‘Aha ‘Ino v. Galiher, 60 F. Supp. 2d 1058, 1059 (D. Haw. 1999) (same);


                                           3
Case 1:06-cv-00605-DAE-BMK Document 82 Filed 09/04/07 Page 4 of 7             PageID.785




 Donaldson, 947 F. Supp. at 430 (interpreting identical language in a prior local rule

 regarding manifest errors). Rule 60(b)(6) allows relief from orders based on any

 “reason justifying relief from operation of judgment,” so long as that reason

 involves “extraordinary circumstances.” Backlund v. Barnhart, 778 F.2d 1386,

 1388 (9th Cir. 1985).

              Mere disagreement with a previous order is an insufficient basis for

 reconsideration and reconsideration may not be based on evidence and legal

 arguments that could have been presented at the time of the challenged decision.

 Hawaii Stevedores, Inc. v. HT & T Co., 363 F. Supp. 2d 1253, 1269 (D. Haw.

 2005). “Whether or not to grant reconsideration is committed to the sound

 discretion of the court.” Navajo Nation v. Confederated Tribes & Bands of the

 Yakama Indian Nation, 331 F.3d 1041, 1046 (9th Cir. 2003) (citing Kona Enter.,

 Inc. v. Estate of Bishop, 229 F.3d 877, 883 (9th Cir. 2000)).

                                    DISCUSSION

              Defendants argue that the Court improperly denied their request for a

 stay of the Magistrate Judge’s order compelling discovery because the Court’s

 subject matter jurisdiction still is in dispute. The Court is scheduled to hear

 Defendants’ motion to dismiss for lack of subject matter jurisdiction on September




                                            4
Case 1:06-cv-00605-DAE-BMK Document 82 Filed 09/04/07 Page 5 of 7           PageID.786




 24, 2007. Until jurisdiction is resolved, Defendants argue that the Court may not

 consider or resolve any issues “going to the merits.”

              The Court agrees that jurisdiction generally is resolved as a threshold

 matter in any case before determining any issues going to the merits. See, e.g.,

 Steel Co. v. Citizens for a Better Environment, 523 U.S. 83, 94-95 (1998); In re

 Madison Guar. Sav. & Loan Ass’n, 173 F.3d 866, 869-70 (D.C. Cir. 1999) (citing

 Steel Co., 523 U.S. 83); Rhulen Agency, Inc. v. Alabama Ins. Guar. Ass’n, 896

 F.2d 674, 678 (2d Cir. 1990). A decision to grant or to deny a stay of a motion to

 compel, however, does not go to the merits of the matter. Rather, that decision

 resolves a non-dispositive issue only.

              Fed. R. Civ. P. 72 divides pretrial matters before a Magistrate Judge

 into two categories: those that are “dispositive of a claim or defense” and those

 that are nondispositive. A Magistrate Judge may hear and determine

 nondispositive matters, but he or she may only make findings and

 recommendations to the district court on dispositive matters. See Fed. R. Civ. P.

 72(a) and (b). 28 U.S.C. § 636(b)(1)(A) provides that a magistrate judge may hear

 and decide any pretrial matter except for certain enumerated matters that are

 considered dispositive, including motions for injunctive relief, motions for

 summary judgment, and motions to dismiss. See also Boskoff, 217 F. Supp. 2d at


                                           5
Case 1:06-cv-00605-DAE-BMK Document 82 Filed 09/04/07 Page 6 of 7              PageID.787




 1084. Motions also may be dispositive when they involve a determination of the

 merits of a case; they do not involve collateral matters; or they are critical in

 shaping the litigation. See id.; see also Kiep v. Turner, 80 B.R. 521, 523-24 (D.

 Haw. 1987) (finding that an order denying withdrawal of a reference was not

 dispositive because it had no bearing on the merits of the claims or on the parties);

 United States v. Bennett, Crim. No. 06-00068, 2006 WL 2793170, at *1 (D. Haw.

 2006) (determining that a motion to disqualify counsel was a nondispositive

 matter). Furthermore, Black’s Law Dictionary defines a “dispositive” matter as “a

 deciding factor . . . bringing about a final determination.” Black’s Law Dictionary

 505 (8th ed. 2004).

              Courts tend to find that matters relating to discovery and discovery

 violations are nondispositive. See, e.g., Perry v. Village of Arlington Heights, No.,

 94 C 0058, 1996 WL 41209, at *1 (N.D. Ill. 1996) (referring a motion for

 contempt to the magistrate judge because it was nondispositive); United States v.

 40.81 Acres of Land, More or Less, 505 F. Supp. 151, 153 (E.D. Pa. 1981) (“A

 discovery order entered by a Magistrate may be reversed only upon a finding that

 the decision was clearly erroneous or contrary to law,” which is the standard to

 appeal a pretrial, nondispositive matter under Fed. R. Civ. P. 72). That said, if a

 motion relating to discovery or discovery abuses somehow has the identical effect


                                            6
Case 1:06-cv-00605-DAE-BMK Document 82 Filed 09/04/07 Page 7 of 7            PageID.788




 of providing finality to a claim or defense, the Court would not be averse to finding

 otherwise, depending on the facts and circumstances of the case. This is not such

 a case, however. A typical motion to compel documents in discovery, such as that

 present in this case, does not involve a final determination of a claim being

 litigated; thus, it is not a dispositive matter. Consequently, because the Court did

 not determine a dispositive matter going to the merits before determining

 jurisdiction, the Court did not commit a manifest error of law.

                                   CONCLUSION

              For the reasons stated above, the Court DENIES Defendants’ Motion

 for Reconsideration.

              IT IS SO ORDERED.

              DATED: Honolulu, Hawaii, September 3, 2007.




                                        _____________________________
                                        David Alan Ezra
                                        United States District Judge


 Hawaii Disability Rights vs. Susanna F. Cheung, et al., Civil o. 06-00605 DAE-
 BMK; ORDER DENYING DEFENDANTS’ MOTION FOR
 RECONSIDERATION




                                           7
